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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE

10

11      UNITED STATES OF AMERICA,                           CASE NO. CR22-001 TL

12                             Plaintiff,                   ORDER ON MOTION FOR
                v.                                          RELEASE
13
        SHABNAM DAWN PILISUK,
14
                               Defendant.
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17          On January 2, 2023, Defendant Shabnam Dawn Pilisuk filed a Motion for Release. Dkt.

18   No. 51. Having reviewed and considered the relevant record—including Ms. Pilisuk’s motion

19   and accompanying exhibit, the United States’ response and accompanying exhibit (Dkt. No. 59),

20   and the Second Supplemental Pretrial Services Report (Dkt. No. 68)—the Court DENIES

21   Ms. Pilisuk’s motion and ORDERS her continued detention for the reasons explained below.

22          Ms. Pilisuk faces multiple charges related to her alleged sexual abuse of her son in

23   addition to her alleged possession and production of child sexual abuse material. The Court

24   assumes familiarity both with the facts of the case as well as the Court’s previous Order on Ms.


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 1   Pilisuk’s first request for a review of the detention order. Dkt. No. 43. To aid the Court in

 2   evaluating the claims raised in Ms. Pilisuk’s motion, the Court requested the United States

 3   Probation Office to conduct a supplemental investigation and file a supplemental report with its

 4   findings. Dkt. No. 58. The supplemental pretrial report was filed on January 11, 2013. Dkt. No.

 5   68.

 6          For criminal offenses involving a minor victim, such as the charges pending against Ms.

 7   Pilisuk: “Subject to rebuttal by the person, it shall be presumed that no condition or combination

 8   of conditions will reasonably assure the appearance of the person as required and the safety of

 9   the community if the judicial officer finds that there is probable cause to believe that the person

10   committed [the crime].” 18 U.S.C. § 3142(e)(3)(E); see also, e.g., United States v. Nelson, No.

11   CR21-10313, 2021 WL 6694072, at *1 (9th Cir. Dec. 7, 2021) (affirming district court’s pretrial

12   detention order based on a finding that “no condition or combination of conditions will

13   reasonably assure . . . the safety of . . . the community”). In reviewing the factors under 18

14   U.S.C. § 3142(g), the Court previously found that Ms. Pilisuk failed to rebut the presumption

15   that no condition or combination of conditions will reasonably assure the safety of the

16   community. Dkt. No. 43 at 5–10.

17          While not labeled as such, Ms. Pilisuk’s current motion essentially asks the Court to

18   reconsider its detention order. Motions for reconsideration are disfavored and are ordinarily

19   denied “in the absence of a showing of manifest error in the prior ruling or a showing of new

20   facts or legal authority which could not have been brought to [the Court’s] attention earlier with

21   reasonable diligence.” CrR 12(b)(13)(A).

22          Ms. Pilisuk’s motion claims no manifest error with the Court’s prior Order and raises no

23   new facts or legal authority to rebut the presumption that no condition or combination of

24   conditions will reasonably assure the safety of the community. See Dkt. No. 51. Her motion


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 1   focuses solely on her own health and how she is unable to receive her desired level of healthcare

 2   while incarcerated. Id. at 3–4. In addition, a motion for release is not the appropriate manner for

 3   Ms. Pilisuk to address issues she may have with healthcare services she is receiving while in

 4   confinement. Finally, while the Court is sensitive to her concerns, the Court also understands that

 5   the jail is making accommodations for Ms. Pilisuk where possible, including increasing the

 6   frequency with which she will receive certain services. Dkt. No. 68 at 3–4, 6.

 7          For the reasons stated herein, the Court DENIES Defendant’s Motion for Release (Dkt. No.

 8   51).

 9          Dated this 17th day of January 2023.

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                                                           A
                                                           Tana Lin
                                                           United States District Judge
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